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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 FUNCTIONAL GOVERNMENT
 INITIATIVE,

                 Plaintiff,
                                                            Civil Action No. 24-3622 (TJK)
         v.

 DEPARTMENT OF STATE,

                 Defendant.


                                             ANSWER

       Defendant Department of State (“Defendant”), by and through undersigned counsel,

respectfully submits this Answer to the Complaint (ECF No. 1) in this case filed by Plaintiff

Functional Government Initiative (“Plaintiff”) under the Freedom of Information Act, 5 U.S.C.

§ 552 (“FOIA”).

       To the extent the Complaint refers to or quotes from external documents, statutes, or other

sources, Defendant may refer to such materials for their accurate and complete contents in

response; however, Defendant’s references are not intended to be, and should not be construed to

be, an admission that the cited materials are: (a) correctly cited or quoted by Plaintiff; (b) relevant

to this, or any other, action; or (c) admissible in this, or any other, action. Defendant expressly

denies all allegations in the Complaint, including the relief sought, that are not specifically

admitted to or otherwise qualified in this Answer. Defendant responds to the Complaint in like

numbered paragraphs as follows:
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                                  JURIDICTION AND VENUE1

        1.      This paragraph does not contain allegations of fact but rather conclusions of law

regarding jurisdiction, to which no response is required. To the extent that a response is deemed

required, Defendant admits that this Court has jurisdiction over claims involving proper FOIA

requests, subject to the terms and limitations of the FOIA.

        2.      This paragraph does not contain allegations of fact but rather conclusions of law

regarding venue, to which no response is required. To the extent that a response is deemed

required, Defendant admits that venue lies in this judicial district for a proper claim under FOIA.

                                              PARTIES

        3.      Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations in this paragraph.

        4.      Defendant admits that it is a federal agency within the meaning of the FOIA and

that it is headquartered in Washington, D.C. However, the statement that Defendant “has

possession, custody, and control of records to which Plaintiff seeks access” is Plaintiff’s legal

conclusion, to which no response is required. To the extent a response may be required, Defendant

lacks knowledge or information sufficient to form a belief as to the truth of the allegations in the

second sentence of this paragraph.

                                     STATEMENT OF FACTS

        5.      Defendant lacks knowledge or information sufficient to form a belief as to the truth

of the allegations in the first clause of the first sentence of this paragraph. As for the second clause



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        For ease of reference, Defendant replicates the headings contained in the Complaint.
Although Defendant believes that no response is required to such headings, to the extent a response
is required and to the extent those headings and titles could be construed to contain factual
allegations, those allegations are denied.

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of the first sentence, Defendant admits that this case concerns three FOIA requests submitted by

Plaintiff to Defendant and that Defendant has not yet provided a substantive response to the FOIA

requests and avers that Defendant continues to process the requests. The first clause of the

sentence describes Plaintiff’s FOIA requests, to which a response is not necessary. As for the

second sentence, Defendant admits there may be some public interest in the records sought but

presently lacks knowledge or information sufficient to form a belief as to the existence or extent

of any public interest, including as compared to any countervailing interests. To the extent the

allegation in this clause is alleged for other purposes, it does not set forth claims of relief or aver

facts in support of a claim, and thus, the Court should strike them as immaterial and impertinent

matters pursuant to Rule 12(f).

       6.      The allegations in this paragraph are Plaintiff’s legal conclusions regarding the

requirements of FOIA, to which no response is required.

       7.      This paragraph purports to quote a Department of Justice memorandum, which

speaks for itself and is the best evidence of its contents. Defendant respectfully refers the Court

to the memorandum for a complete and accurate statement of its contents and denies any

allegations inconsistent therewith.

       8.      The allegations in this paragraph contain legal conclusions, to which no response

is required. To the extent a response is deemed required, Defendant admits only that it has not yet

provided a substantive response to the FOIA requests and avers that Defendant continues to

process the requests, but otherwise denies the remaining allegations in this paragraph.

       9.      The allegations in this paragraph are Plaintiff’s legal conclusions regarding the

requirements of FOIA, to which no response is required.




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A.      FGI’S FOIA REQUEST FOR RECORDS TO THE STATE DEPARTMENT’S
        BUREAU OF CYBERSPACE AND DIGITAL POLICY.

        10.     Defendant admits that it received a FOIA request from Plaintiff on September 27,

2024. To the extent this paragraph seeks to characterize the FOIA request, Defendant refers the

Court to the FOIA request for a complete and accurate statement of its contents and denies any

allegations inconsistent therewith. As for the last sentence of this paragraph, Defendant admits

there may be some public interest in the records sought but presently lacks knowledge or

information sufficient to form a belief as to the existence or extent of any public interest, including

as compared to any countervailing interests. To the extent the allegation in this sentence is alleged

for other purposes, it does not set forth claims of relief or aver facts in support of a claim, and thus,

the Court should strike them as immaterial and impertinent matters pursuant to Rule 12(f).

        11.     Defendant admits that it sent Plaintiff an email on September 27, 2024, confirming

receipt of Plaintiff’s request and assigning it request number F-2024-22053. In further response,

Defendant refers the Court to the cited email for a complete and accurate statement of its contents

and denies any allegations inconsistent therewith.

        12.     Defendant admits that it sent Plaintiff an email on October 25, 2024,

acknowledging Plaintiff’s request. In further response, Defendant refers the Court to the email for

a complete and accurate statement of its contents and denies any allegations inconsistent therewith.

        13.     Defendant admits only that it has not yet provided a substantive response to the

FOIA request and avers that Defendant continues to process the request, but otherwise denies the

remaining allegations in this paragraph.




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B.      FGI’S FOIA REQUEST FOR RECORDS TO THE DEPARTMENT OF STATE’S
        GLOBAL ENGAGEMENT CENTER.

        14.     Defendant admits that it received a FOIA request from Plaintiff on September 27,

2024. To the extent this paragraph seeks to characterize the FOIA request, Defendant refers the

Court to the FOIA request for a complete and accurate statement of its contents and denies any

allegations inconsistent therewith. As for the last sentence of this paragraph, Defendant admits

there may be some public interest in the records sought but presently lacks knowledge or

information sufficient to form a belief as to the existence or extent of any public interest, including

as compared to any countervailing interests. To the extent the allegation in this sentence is alleged

for other purposes, it does not set forth claims of relief or aver facts in support of a claim, and thus,

the Court should strike them as immaterial and impertinent matters pursuant to Rule 12(f).

        15.     Defendant admits that it sent Plaintiff an email on September 27, 2024, confirming

receipt of Plaintiff’s request and assigning it request number F-2024-22054. In further response,

Defendant refers the Court to the email for a complete and accurate statement of its contents and

denies any allegations inconsistent therewith.

        16.     Defendant admits that it sent Plaintiff an email on October 16, 2024,

acknowledging Plaintiff’s request. In further response, Defendant refers the Court to the email for

a complete and accurate statement of its contents and denies any allegations inconsistent therewith.

        17.     Defendant admits only that it has not yet provided a substantive response to the

FOIA request and avers that Defendant continues to process the request, but otherwise denies the

remaining allegations in this paragraph.




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C.     FGI’S FOIA REQUEST FOR RECORDS RELATED TO SEPTEMBER 13, 2024
       NEW YORK POST ARTICLE.

       18.     Defendant admits that it received a FOIA request from Plaintiff on October 7, 2024.

To the extent this paragraph seeks to characterize the FOIA request, Defendant refers the Court to

the FOIA request for a complete and accurate statement of its contents and denies any allegations

inconsistent therewith. As for the last sentence of this paragraph, Defendant admits there may be

some public interest in the records sought but presently lacks knowledge or information sufficient

to form a belief as to the existence or extent of any public interest, including as compared to any

countervailing interests. To the extent the allegation in this sentence is alleged for other purposes,

it does not set forth claims of relief or aver facts in support of a claim, and thus, the Court should

strike them as immaterial and impertinent matters pursuant to Rule 12(f).

       19.     Defendant admits that it sent Plaintiff an email on October 7, 2024, confirming

receipt of Plaintiff’s request and assigning it request number F-2025-00882. In further response,

Defendant refers the Court to the email for a complete and accurate statement of its contents and

denies any allegations inconsistent therewith.

       20.     Defendant admits that it sent Plaintiff an email on October 28, 2024,

acknowledging Plaintiff’s request. In further response, Defendant refers the Court to the email for

a complete and accurate statement of its contents and denies any allegations inconsistent therewith.

       21.     Defendant admits only that it has not yet provided a substantive response to the

FOIA request and avers that Defendant continues to process the request, but otherwise denies the

remaining allegations in this paragraph.




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                                      CAUSE OF ACTION
                                (Violation of FOIA, 5 U.S.C. § 552)

        22.     Defendant incorporates by reference all the preceding paragraphs of this Answer as

if fully stated herein.

        23.     The allegations in this paragraph contain legal conclusions, to which no response

is required. To the extent a response is deemed required, Defendant admits only that it has not yet

provided a substantive response to the FOIA request and avers that Defendant continues to process

the requests.

        24.     The allegations in this paragraph contain legal conclusions, to which no response

is required.

                                      PRAYER FOR RELIEF

        The remainder of the Complaint, including paragraphs a-e, consists of Plaintiff’s request

for relief, to which no response is required. To the extent that a response is required, Defendant

denies that Plaintiff is entitled to the relief requested or to any relief whatsoever.

                                             DEFENSES

        Defendant reserves the right to amend, alter, and supplement the defenses contained in this

Answer as the facts and circumstances giving rise to this Complaint become known to Defendant

through the course of this litigation. Defendant does not assume the burden of proving any of

these defenses or elements of them where the burden is properly placed on Plaintiff as a matter of

law.

                                         FIRST DEFENSE

        Plaintiff is not entitled to compel the production of any record or portion of any record

protected from disclosure by one or more of the exclusions or exemptions to the FOIA or the

Privacy Act, 5 U.S.C. § 552a.
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                                       SECOND DEFENSE

       The Court lacks subject matter jurisdiction over any of Plaintiff’s requests for relief that

exceed the relief authorized by the FOIA.

                                         THIRD DEFENSE

       Plaintiff is neither eligible for nor entitled to attorneys’ fees or costs.

                                       FOURTH DEFENSE

       Defendant has not improperly withheld records requested by Plaintiff under FOIA.

                                         FIFTH DEFENSE

       Plaintiff has failed to reasonably describe the records sought.

 Dated: February 10, 2025                         Respectfully submitted,
        Washington, DC
                                                  EDWARD R. MARTIN, JR., D.C. Bar #481866
                                                  United States Attorney

                                                  BRIAN P. HUDAK
                                                  Chief, Civil Division


                                                  By: /s/ John J. Bardo
                                                      JOHN J. BARDO, D.C. Bar #1655534
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